Case 1:16-cv-00676-.].]I\/|-PAS Document 48 Filed 05/24/18 Page 1 of 2 Page|D #: 255

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FOR '1'HI:?. DIS’l`RIC'l" O]"` RI~IODE ZSI,.¢\ND

CA'E"H]§RINI§ M. CUR],.I€Y, Individuafly and as
Pcrs<)nal Representative Of the
If‘lsratc of L<:O M. Curley,jr.

\=‘. : C.A. N<).: '1:16~(;\*~(){)6763\'1~1)1\3

111€1"1¢\111)':1 zuzi~;RNl»;zR, M.D.,
UROL<)GY ASSOC;A']'ES, INC.,

AARON \)U. WA“Y, D.O.,

05"1“1§;<)1>;\';'}11€ rvm\-MLY 1\-1;;3;1)1<:11\11:;, I,LC,
JOHN/jl-\NE 1)03‘:;, M.D., Alias, and

jOHN DOE <:<:)RPORATION, mm

_S_.M
The parties hereby agree that plaintiffs :~zh:d§ have up tc) and inciu<iing]une 4, 2018 in
Which to ans\vcr, Ob}c~:ct and/or ether\vise respond to the following documcn§s:

0 Defendant j\aron W. ery, D.O.’S lntcrrc)gat<)rics Prc)pounded EO Plainr_iff
Catherine M. Curley, as Personal Rc:prescnmtive of the Estate Of Le<) M.
Curley,]r.;

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to Plaimiff Catherine M. Curley, as Pc-:rsonal R@prcsemativc of the fistate Of
Leo M. Curfey, Jr.; and

0 Dcfcndzult Oste<)pathic ij"amily Mc:dicinc:, ],,.L(:’s Rc:quesr for Producti<)n to
P]zlintiff C;\thr:rinc M. Curley, as PCrSOnill RCprCSCHtati\-*c <)f the ESmte cf
Lec) M. Curl<-:y,_}r.

Plaintiff, Defcnd:mts Aaron \W. \W:sy, D.O. and

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Case 1:16-cv-00676-.].]I\/|-PAS Document 48 Filed 05/24/18 Page 2 of 2 Page|D #: 256

UNITHD STA'I`I§S DIS'I`RICT COLTRT
FOR 'I`HE DlS'l`Rl(."i` C)I*` RH()DE ISLAND

C,A'I`HERINE M. CLTRLEY, Individually and as
Personal Representative of the
listate of Leo M. Curley, ]`r.

v. : C.A. No.: 1:16-€'\-'-()0676~1\-1-1)AS
RICHA_RD 'l`. ZU]ERNI{§R, M.D.,
UROLOGY r'\SSOCIA'I`ES, INC.,
AARON W. WAY, D.O.,
OS"l`l"§OPi-X'I“HIC I"`AI\-‘HLY i_\-'IEDICIN]_E, LLC,
JOHN/_]AN];;`, 1)()¥£, M.D., A}tias, and
]CHN DOE CORPORA'}`ION, Ak'as

CERTIFICATE OF SERVICE

1 hereby certify that this document Was filed through the I;"ZCP Systern and will be

Sent electronically to the registered participants identified on the Notice of Eleet.ronie iiiling

(NE}*`) and that paper copies have been Se:it to those indicated as non-registered participants

(if applicable) on this 24th ciay of May, 2018.

/S/ Natafie _lervolino

